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                              UNITED STATES DISTRICT COURT
19
                            NORTHERN DISTRICT OF CALIFORNIA
20                               SAN FRANCISCO DIVISION

21   CASEY ROBERTS, Individually and on Behalf of      Case No.: 3:19-cv-03422-SI
     All Others Similarly Situated,
22                                                     JOINT STATUS REPORT

23                               Plaintiff,            Hon. Kandis A. Westmore
24                 v.

25   ZUORA, INC., TIEN TZUO, and TYLER SLOAT,

26                               Defendants.
27

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     JOINT STATUS REPORT                                               CASE NO.: 3:19-cv-03422-SI
       Case 3:19-cv-03422-SI Document 202 Filed 01/19/23 Page 2 of 5



1           On November 2, 2022, Lead Plaintiff New Zealand Methodist Trust Association and
2    Defendants Zuora, Inc., Tien Tzuo, and Tyler Sloat (collectively, “the Parties”) participated in a
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     pre-settlement telephonic conference. See ECF No. 176. At that conference, the Parties agreed to
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     further mediation before Robert A. Meyer, Esq. of JAMS and to provide a status report on their
5
     progress on January 25, 2023. To that end, the Parties respectfully submit this Joint Status Report
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7    stating that the Parties have scheduled an in-person mediation before Mr. Meyer on February 2,

8    2023 in Los Angeles, California. This date was selected to accommodate the Parties’ and the

9    mediator’s respective schedules. The Parties propose to submit a status report after the mediation
10   on February 22, 2023, or as soon as the Court may direct.
11
     Dated: January 19, 2023
12
                                           PAUL, WEISS, RIFKIND, WHARTON &
13                                           GARRISON LLP

14                                                By: /s/ Melinda Haag
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     JOINT STATUS REPORT                             2                        CASE NO.: 3:19-cv-03422-SI
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     JOINT STATUS REPORT                   3                      CASE NO.: 3:19-cv-03422-SI
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     JOINT STATUS REPORT                   4                       CASE NO.: 3:19-cv-03422-SI
       Case 3:19-cv-03422-SI Document 202 Filed 01/19/23 Page 5 of 5



1                                      SIGNATURE ATTESTATION
2              Pursuant to Civil Local Rule 5-1(h)(3), all signatories concur in filing this Joint Status
3
     Report.
4

5    Dated: January 19, 2023
                                             PAUL, WEISS, RIFKIND, WHARTON &
6                                              GARRISON LLP
7                                                   By: /s/ Melinda Haag
                                                       Melinda Haag
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     JOINT STATUS REPORT                               5                       CASE NO.: 3:19-cv-03422-SI
